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    9 Facsimile: (213) 687-3702
   10 Attorneys for Plaintiff Vanessa Bryant
   11                           UNITED STATES DISTRICT COURT
   12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13 VANESSA BRYANT,                             Case No. 2:20-cv-09582-JFW-E
   14              Plaintiff,                     PLAINTIFF’S WITNESS LIST
   15        vs.                                  Judge:        Hon. John F. Walter
                                                  Courtroom:    7A
   16 COUNTY OF LOS ANGELES, et al.,
                                                  Pretrial Conference:
   17              Defendants.                             February 4, 2022, 8:00 a.m.
   18                                             Trial Date: February 22, 2022
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                                     PLAINTIFF’S WITNESS LIST
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    1        Pursuant to Fed. R. Civ. P. 26(a)(3)(A) and Central District Civil Local Rule
    2 16-5, Plaintiff Vanessa Bryant submits the following list of witnesses to be called at
    3 trial, exclusive of witnesses to be called solely for purposes of impeachment.
    4 Plaintiff reserves the right to call any witness identified in Defendant’s Witness List;
    5 to call additional witnesses for purposes of rebuttal or impeachment; and based on
    6 further developments in the case, including, without limitation, the Court’s rulings
    7 on pending disputed evidentiary matters.
    8     Witness Name             Contact Information            Testimony By Deposition
                                                                        or In Person
    9
         Adam Bercovici             Contact through                       In Person
   10                             counsel for Plaintiff:
   11                                    Luis Li,
                             WILSON SONSINI GOODRICH
   12                               & ROSATI, P.C.
   13                        633 West Fifth Street, Suite 1550
                                 Los Angeles, CA 90071
   14                                (323) 210-2900
   15     Robert Boese            Previously Provided                    By Deposition

   16                                                                     Boese Dep.
   17                                                                       6:5-10
                                                                           6:21-7:2
   18                                                                       7:6-12
   19                                                                       8:11-16
                                                                           9:2-11:3
   20                                                                     11:19-12:18
   21                                                                     27:22-28:10
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   22                                                                      29:13-17
   23                                                                      29:19-21
                                                                             29:23
   24                                                                     29:25-30:2
   25                                                                     30:23-31:7
                                                                          56:3-57:12
   26                                                                       58:8-20
   27                                                                       59:8-14
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                                      PLAINTIFF’S WITNESS LIST
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    1    Witness Name           Contact Information           Testimony By Deposition
                                                                    or In Person
    2
         Jennifer Bolden         Previously Provided                  In Person
    3
    4
        Nicholas Bonelli         Previously Provided                 In Person
    5
    6    Vanessa Bryant          Previously Provided                 In Person

    7      Ruby Cable            Previously Provided                 In Person
    8
         Custodians of            To Be Determined                   In Person
    9   Record for Cell
   10   Phone Records*
          Joey Cruz              Previously Provided                 In Person
   11
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                                   PLAINTIFF’S WITNESS LIST
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    1     Mark Flores            Previously Provided             By Deposition
    2
                                                                  Flores Dep.
    3
                                                                    6:14-17
    4
                                                                   6:23-9:3
    5                                                              9:24-12:1
    6                                                               15:8-14
                                                                   15:20-21
    7                                                             16:17-17:6
    8                                                             17:9-19:16
                                                                  30:22-31:15
    9                                                               32:5-11
   10                                                              32:14-17
                                                                  34:10-35:14
   11                                                             36:10-37:25
   12                                                              38:17-23
                                                                    40:8-15
   13                                                             41:23-42:4
   14                                                             42:18-43:23
                                                                   46:5-47:1
   15                                                            48:20-50-10
   16                                                               51:6-23
                                                                   52:10-25
   17                                                             54:25-55:4
   18                                                             55:18-56:25
                                                                    59:9-13
   19                                                             60:21-61:4
   20                                                               62:2-15
                                                                  64:20-65:11
   21                                                              66:1-67:7
   22                                                             67:16-68:22
                                                                    71:4-14
   23                                                             71:16-73:19
   24                                                               79:6-20
                                                                  80:16-84:13
   25                                                             85:14-86:6
   26                                                               86:1-17
                                                                  88:20-89:4
   27                                                              92:12-18
   28                                                            100:8-101:11

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                                   PLAINTIFF’S WITNESS LIST
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    1    Witness Name           Contact Information            Testimony By Deposition
                                                                     or In Person
    2
                                                                      107:7-109:2
    3                                                                114:24-116:3
    4                                                                116:13-117:2
                                                                       120:7-17
    5                                                                120:22-121:4
    6                                                                  122:3-11
                                                                       123:4-13
    7                                                                  124:5-13
    8                                                                124:20-125:1

    9    David Freskos*           Contact through                     In Person
   10                           counsel for Plaintiff:
                                       Luis Li,
   11                      WILSON SONSINI GOODRICH
   12                             & ROSATI, P.C.
                           633 West Fifth Street, Suite 1550
   13                          Los Angeles, CA 90071
   14                              (323) 210-2900
        Catherine Gasol         Previously Provided                   In Person
   15
   16
        Victor Gutierrez         Previously Provided                  In Person
   17
   18    Tony Imbrenda           Previously Provided                  In Person
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                                   PLAINTIFF’S WITNESS LIST
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    1    William Jaeger          Previously Provided             By Deposition
    2
                                                                  Jaeger Dep.
    3
                                                                    8:9-14
    4
                                                                   11:17-24
    5                                                              13:6-15:9
    6                                                              15:15-17
                                                                  16:15-17:2
    7                                                             17:23-18:13
    8                                                             18:19-20:2
                                                                  20:10-22:16
    9                                                             22:23-23:4
   10                                                             23:7-26:11
                                                                    30:2-12
   11                                                             30:21-32:21
   12                                                               33:6-21
                                                                  33:24-34:12
   13                                                              34:20-22
   14                                                             34:25-36:10
                                                                  36:25-37:11
   15                                                             37:21-39:11
   16                                                             41:17-43:15
                                                                   44:11-22
   17                                                             44:25-45:15
   18                                                             45:24-47:22
                                                                  50:11-56:6
   19                                                             59:15-62:3
   20                                                              62:10-18
                                                                  62:22-63:14
   21                                                             68:19-69:3
   22                                                             71:20-73:16
                                                                  73:25-74:18
   23                                                             74:21-83:15
   24                                                              83:20-23
                                                                  83:25-84:10
   25                                                              84:12-19
   26                                                              84:21-24
                                                                    85:3-5
   27                                                               85:7-19
   28                                                             87:14-88:4

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    1    Witness Name           Contact Information           Testimony By Deposition
                                                                    or In Person
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                                                                     88:7-89:19
    3                                                                89:21-90:20
    4                                                                 91:11-18
                                                                      93:19-24
    5                                                                 94:2-97:4
    6                                                                97:22-99:4
                                                                    101:9-102:18
    7                                                                103:9-105:1
    8                                                                 106:1-10
                                                                      107:14-24
    9                                                               117:12-119:1
   10                                                              120:14-121:25
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   11                                                              129:17-131:15
   12                                                                 132:5-20
                                                                    132:22-134:1
   13                                                                  134:6-9
   14                                                                 134:11-19
                                                                       136:7-9
   15                                                                 137:7-11
   16                                                                 137:19-23
                                                                    137:25-138:7
   17                                                                 138:14-18
   18                                                                 138:20-25
                                                                       139:4-5
   19
   20     Christopher            Previously Provided                 In Person
           Jauregui
   21
   22    Doug Johnson            Previously Provided                 In Person
   23     Brian Jordan           Previously Provided                 In Person
   24
           Journalists            To Be Determined                   In Person
   25      Involved in
   26     Audio / Video
          Recordings*
   27
          Arlin Kahan            Previously Provided                 In Person
   28

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                                   PLAINTIFF’S WITNESS LIST
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    1    Witness Name           Contact Information           Testimony By Deposition
                                                                    or In Person
    2
           David Katz            Previously Provided                  In Person
    3
    4     Travis Kelly           Previously Provided                 In Person

    5     Dennis Kneer           Previously Provided                 In Person
    6
        Hector Mancinas          Previously Provided                 In Person
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                                   PLAINTIFF’S WITNESS LIST
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    1       Anthony              Previously Provided             By Deposition
            Marrone
    2
                                                                 Marrone Dep.
    3
                                                                    7:12-17
    4
                                                                    7:22-24
    5                                                             22:4-26:12
    6                                                               37:8-10
                                                                  37:12-38:2
    7                                                             39:21-40:19
    8                                                               43:9-11
                                                                   43:20-25
    9                                                             44:18-45:12
   10                                                               46:2-14
                                                                    47:2-9
   11                                                             50:17-51:8
   12                                                              53:17-25
                                                                    54:2-8
   13                                                              55:9-56:2
   14                                                             56:9-56:24
                                                                    57:1-3
   15                                                             57:18-58:12
   16                                                             59:16-60:20
                                                                    66:9-16
   17                                                               67:5-13
   18                                                              85:10-22
                                                                    86:9-12
   19                                                              86:20-25
   20                                                            119:2-120:11
                                                                 120:18-121:10
   21                                                              128:11-19
   22                                                              134:3-22
                                                                   139:13-23
   23                                                            141:5-143:15
   24                                                              146:15-18
                                                                   147:14-19
   25                                                               148:2-5
   26                                                              153:18-21
                                                                 154:12-155:6
   27                                                            182:12-183:16
   28                                                              184:11-20

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                                   PLAINTIFF’S WITNESS LIST
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    1       William              Previously Provided             By Deposition
            McCloud
    2
                                                                 McCloud Dep.
    3
                                                                     7:7-12
    4
                                                                     7:20-22
    5                                                              18:22-19-8
    6                                                               19:16-23
                                                                   19:25-20:14
    7                                                              20-25-22-6
    8                                                              22:12-23:2
                                                                    23:10-25
    9                                                              27:24-29:5
   10                                                              29:23-31:9
                                                                   35:15-36:13
   11                                                              36:15-39:5
   12                                                              39:18-41:25
                                                                   42:19-43:10
   13                                                              45:17-46:19
   14                                                              47:21-48:11
                                                                   54:18-56:5
   15                                                              56:23-57:5
   16                                                              57:16-58:5
                                                                   58:7-58:19
   17                                                              59:3-59:16
   18                                                               61:13-15
                                                                    61:18-19
   19                                                                63:8-14
   20                                                              64:4-65:22
                                                                     67:2-13
   21                                                              67:18-68:13
   22                                                              68:20-69:5
                                                                   72:19-73:24
   23                                                              74:23-75:6
   24                                                              76:8-79:22
                                                                   80:14-83:7
   25                                                              83:19-85:4
   26                                                               86:9-87:4
                                                                   87:17-88:1
   27                                                              90:16-91:8
   28                                                              93:24-95:4

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                                   PLAINTIFF’S WITNESS LIST
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    1                                                             96:5-98:21
                                                                  98:25-99:6
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    3                                                            101:11-102:7
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    4
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    5                                                             106:6-109:4
    6                                                              111:13-25
                                                                  113:5-115:8
    7                                                            117:21-118:7
    8                                                              121:10-22
                                                                  122:8-123:1
    9                                                              123:7-25
   10                                                              124:9-16
                                                                   126:7-12
   11                                                            126:21-128:12
   12                                                              129:18-25
                                                                   131:6-12
   13                                                             132:3-135:2
   14                                                            136:21-137:1
                                                                   137:11-20
   15                                                              138:12-21
   16                                                            139:8-140:10
                                                                 140:22-141:3
   17                                                            144:16-145:12
   18                                                             146:7-147:4
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   19                                                              147:12-14
   20                                                            147:18-148:2
                                                                 148:12-149:5
   21                                                            149:11-150:3
   22                                                              151:21-25
                                                                   152:8-17
   23                                                            153:12-154:11
   24                                                            155:15-159:1
                                                                 159:20-161:10
   25                                                            161:17-162:15
   26                                                              163:3-21
                                                                 164:14-166:21
   27                                                              167:7-21
   28                                                              172:19-20

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                                   PLAINTIFF’S WITNESS LIST
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    1     Witness Name           Contact Information          Testimony By Deposition
                                                                    or In Person
    2
                                                                      181:1-12
    3                                                                184:11-12
    4                                                               184:17-185:4
                                                                   186:25-188:14
    5                                                                188:15-25
    6                                                                200:12-21
                                                                       201:2-4
    7                                                                201:17-22
    8                                                              201:25-202:18
                                                                     204:20-22
    9                                                              205:14-206:10
   10                                                               210:18-211:8

   11      Rafael Mejia          Previously Provided                 In Person
   12
            Kristina             Previously Provided                 In Person
   13       McGuire
   14
         Ralph Mendez,           Previously Provided                 In Person
   15         Jr.
   16
         Rebuttal Mental          To Be Determined                   In Person
   17    Health Expert*
   18      Scott Miller          Previously Provided                 In Person
   19    Kristin Pelinka         Previously Provided                 In Person
   20
           Rob Pelinka           Previously Provided                 In Person
   21
   22       Tom Pikor            Previously Provided                 In Person
   23
         Michael Russell         Previously Provided                 In Person
   24
   25      Ben Sanchez           Previously Provided                 In Person

   26       Erik Scott           Previously Provided                 In Person
   27
         Emily Tauscher          Previously Provided                 In Person
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                                   PLAINTIFF’S WITNESS LIST
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    1     Witness Name           Contact Information          Testimony By Deposition
                                                                    or In Person
    2
         Matthew Vander          Previously Provided                  In Person
    3        Horck
    4
          Jorge Valdez           Previously Provided                  In Person
    5
    6     Raul Versales          Previously Provided                  In Person

    7    Alex Villanueva         Previously Provided                  In Person
    8
            Sharia               Previously Provided                  In Person
    9      Washington
   10
          Jessica Wells          Previously Provided                  In Person
   11
   12    Luella Weireter         Previously Provided                  In Person
   13
   14
   15 DATED: January 20, 2022            WILSON SONSINI GOODRICH & ROSATI
   16                                    Professional Corporation
   17
   18
                                         By: /s/ Luis Li
   19
                                             LUIS LI
   20
                                         Attorneys for Plaintiff Vanessa Bryant
   21
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                                   PLAINTIFF’S WITNESS LIST
